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10
11                           UNITED STATES DISTRICT COURT
12           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
13
14   OCULU, LLC,                                     Case No.: 8:14-SACV-196-DOC (JPRx)
15                      Plaintiff,                   [REDACTED] PLAINTIFF OCULU,
                                                     LLC’S MEMORANDUM OF
16         vs.                                       POINTS AND AUTHORITIES IN
                                                     OPPOSITION TO MOTION IN
17   OCULUS VR, INC.,                                LIMINE TO EXCLUDE
                                                     TESTIMONY OF DAVID DREWS
18                      Defendant.                   AND PLAINTIFF’S ALLEGED
                                                     THEORIES OF DAMAGES
19
                                                     Date:            June 8, 2015
20                                                   Time:            8:30
                                                     Courtroom:       9D (Santa Ana)
21                                                   Judge:           Hon. David O. Carter
22                                                   Trial Date:      July 28, 2015
23
     RELATED COUNTERCLAIM
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25
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28

                                     OPPOSITION TO MOTION IN LIMINE
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Oculus and its legal defense team backed by Facebook are oddly
 4   incredulous about this case. Nobody disputes that plaintiff Oculu started using the
 5   trademark “Oculu” – and registered that trademark – before Oculus made the mistake of
 6   selecting its name. It is self-evident that “Oculu” and “Oculus” are confusingly similar
 7   words. All of the lawyers working on this case have mistakenly said one of the names and
 8   meant the other multiple times in the course of the litigation.
 9         The evidence also proves that “Oculu” and “Oculus” are confusingly similar
10   trademarks, used by two companies in the fast-growing and always-evolving internet and
11   new media marketplace. Think desktop, to laptop, to smartphone, to tablet, to watches, to
12   glasses. An Oculus virtual reality headset is just another platform for viewing content.
13   Oculu is a content provider. They have virtually the same name. That’s a problem the
14   trademark law was intended to solve.
15         The primary issue on this motion in limine is whether plaintiff’s damages expert,
16   David Drews, must be barred from testifying about how much Oculus has been unjustly
17   enriched by its use of the infringing trademarks, and how much Oculu has suffered in lost
18   profits as a result of the infringement.
19         On unjust enrichment, the parties disagree on the law. Oculus contends that the only
20   disgorgement a Court can order in a trademark case is the defendant’s profits from the sale
21   of infringing goods or services. Oculus does not cite any case law that specifically
22   establishes this narrow interpretation of the trademark damages statute, 15 USC § 1117(a).
23   The plain language of 15 USC § 1117(a) does not limit “sales” to goods and services, and it
24   expressly states that the Court must consider “principles of equity.” Oculus should be
25   ordered to disgorge profits from the sale of the infringing trademarks to Facebook. The
26   motion in limine should be denied on Mr. Drews’ unjust enrichment testimony.
27         On Oculu’s lost profits, Oculus does not point to any flaw in Mr. Drews’
28   methodology, which is summarized on Exhibit 1 to his report. Rather, Oculus’ motion is
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                                  FIRST AMENDED CROSS-COMPLAINT
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 1   based on an alleged lack of evidence supporting Mr. Drews’ opinion. There is no lack of
 2   evidence. The lifeblood of Oculu’s business is traffic to its website. That traffic was
 3   growing rapidly until Oculus became a sensation in mid-2012. At that moment, Oculu’s
 4   website traffic suffered a steady decline, along with its revenues. Oculus points to evidence
 5   that it contends explains the decline in Oculu’s website traffic and refutes the drop in
 6   revenue. Oculus’ evidence goes to the weight and credibility, not the admissibility, of Mr.
 7   Drews’ lost profits analysis. The motion in limine should be denied on Mr. Drews’ lost
 8   profit testimony.
 9   II.   OCULUS’ MOTION IN LIMINE SHOULD BE DENIED AS TO MR. DREWS’
10         OPINION ON UNJUST ENRICHMENT.
11         For purposes of this motion, the Court should assume likelihood of confusion and
12   assume Oculus has been infringing Oculu’s trademark. The Court should also assume that
13   Oculu’s business has suffered tremendously since Oculus started using the infringing
14   marks, but that such damages are difficult to prove.
15
16          Under these circumstances, according to Oculus, the Court is prohibited, in
17   fashioning a remedy, from considering Mr. Drews’ testimony on what Facebook paid for
18   the infringing Oculus marks. Oculus is wrong.
19         Oculus’ argument is based on the false premise that the Court may only disgorge
20   profits from the sale of infringing goods or services. Nothing in the applicable statute, 15
21   USC § 1117(a), contains such a limitation. The Lanham Act states that a plaintiff is
22   entitled to recover the “defendant’s profits.” 15 USC § 1117(a). “In assessing profits the
23   plaintiff shall be required to prove defendant’s sales only; defendant must prove all
24   elements of cost or deduction claimed.” Id. Nothing in the statute precludes disgorgement
25   of profits on the sale of an asset.
26         Oculus intentionally ignores that, in determining damages and disgorgement of
27   profits, the Court must consider “principles of equity.” 15 USC § 1117(a). The Lanham
28   Act also expressly requires that the Court exercise discretion in awarding profits:
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 1                “If the court shall find that the amount of the recovery based on
 2         profits is either inadequate or excessive the court may in its discretion enter
 3         judgment for such sum as the court shall find to be just, according to the
 4         circumstances of the case.”
 5   15 USC § 1117(a) (emphasis added). In its Memorandum of Points and Authorities,
 6   Oculus used ellipses to skip the parts of 15 USC § 1117(a) requiring equitable
 7   considerations, discretion, and justice in awarding profits. (Memo. at 8:21-28.)
 8         In short, the Lanham Act allows disgorgement of profits, and it does not exclude
 9   profits on the sale of an asset. Moreover, even if “profits” in the Lanham Act did exclude
10   profits on the sale of an asset, the Court still has discretion to consider such profits in
11   awarding damages.
12         None of the cases Oculus cites directly support its position. The case most on point
13   is Simon Prop. Grp., L.P. v. mySimon, Inc., 2001 WL 66408, at *22-23 (S.D. Ind. Jan. 24,
14   2001), which actually supports Mr. Drews’ opinion. In mySimon, the jury awarded $11.5
15   million in profits. At trial, the plaintiff’s expert measured damages by estimating the value
16   of the infringing marks based on the price another company paid to acquire the defendant.
17   The expert estimated that the portion of the acquisition price attributable to the infringing
18   marks was $11.5 million. On post-trial motions, the Court vacated the award, but only
19   because the Court awarded injunctive relief and the plaintiff had “conceded that if an
20   injunction were to be entered, it would not seek future royalties or its proposed measure of
21   mySimon’s profits.” Id. at *23. The Court remarked that “the $11.5 million figure is more
22   similar to a reasonable royalty calculation than to what is traditionally thought of as a
23   calculation of ‘defendant’s profits’ in trademark law,” but the Court did not preclude a
24   monetary remedy based on any flaw with plaintiff’s damages theory.
25         Oculus claims that                               – but Facebook purchased the company
26   for $2 billion. In its Form 10-Q, Facebook concedes that the purchase price includes
27   “Tradenames and other,” which Facebook values at $132 million. Although no witness
28   from Oculus has any knowledge about which tradenames are encompassed within the
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                                  FIRST AMENDED CROSS-COMPLAINT
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 1   “Tradenames and other” category, it is beyond a doubt that the infringing tradenames are
 2   included.1 If it is determined that Oculus infringed Oculu’s trademark on the path to such a
 3   massive purchase price, and if a portion of the $2 billion was used to purchase infringing
 4   tradenames that Facebook admits have a certain value, Oculu should have the opportunity
 5   to present evidence of that value through Mr. Drews for the Court’s consideration in
 6   determining damages.
 7          The fact that Oculus chose to distribute all of the profits from the Facebook
 8   acquisition to its shareholders – including whatever profits are fairly attributable to the
 9   infringing Oculus tradenames – is not a defense. If those profits were illicit, apportion of
10   them may, in the Court’s discretion, be returned to Oculu.
11   III.   OCULUS’ MOTION IN LIMINE SHOULD BE DENIED AS TO MR. DREWS’
12          OPINION ON LOST PROFITS.
13          Mr. Drews opines that Oculu lost profits “due to Oculus’s emergence as a tech
14   industry phenomenon in the summer of 2012, which led to the crowding out of Oculu from
15   search engine results.” (Peterson Decl., Exh. 7 [“Drews Report”] at 9.) Oculus seeks to
16   exclude this opinion on grounds there is no supporting evidence. Oculus is wrong.
17          Oculus first argues there is no evidence that Oculus negatively affected Oculu’s
18   website traffic from search engine results. Not so. There is evidence that Oculus caused
19   the drop in Oculu’s website traffic. Oculus does not dispute that Oculu’s website traffic
20   was growing rapidly until Oculus became a sensation in mid-2012 and, thereafter, that
21   Oculu’s website traffic suffered a steady decline. (Drews Report at 9.) These undisputed
22   facts – in and of themselves – are evidence that the emergence of Oculus caused the drop in
23   Oculu’s website traffic.
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26   1
       No witness to date has claimed any personal knowledge whatsoever about the $132 million
27   figure, which is why Oculu subpoenaed Facebook to designate a witness on this topic. Facebook
     filed a motion to quash the subpoena, which is currently pending in the Northern District Court of
28   California. (N.D. Cal., Civil Docket No. 5:15-mc-80064-HRL.)
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 2   Somehow, Oculus takes no responsibility for this reality, which made matters worse for
 3   Oculu when Oculus selected its infringing name and proceeded to become a behemoth.
 4   Third, Oculu’s founder John Cecil – a 20 year veteran in the industry – testified to the
 5   negative effect of Oculus on Oculu’s search engine results:
 6                Q.     Please explain.
 7                A.     Yes. The mark Oculus, them using Oculus, has been – has
 8         negatively affected our search engine optimize – our search engine results on
 9         all words that are important to us.
10                Q.     What’s your evidence of that, sir?
11                A.     A drop-off in traffic from natural listings from Google.
12                Q.     You attribute that entirely to my client’s use of the name
13         Oculus VR or Oculus?
14                A.     Yes.
15   (King Decl., Exh. 52 [Cecil Depo. Trans., Vol. 1] at 265:8-18].)
16         Oculus ignores all of the foregoing evidence, which supports Mr. Drews’ lost profits
17   opinion. Instead, Oculus focuses only on its evidence. The Court should allow the trier of
18   fact to consider all of the evidence and give it the weight it deems appropriate.
19         Oculus next argues that Oculu cannot establish any reduction in its revenue
20   following Oculus’ emergence. Oculus is wrong again. Oculus does not dispute Oculu’s
21   basic business model of using search engines to drive traffic to Oculu’s website, offering
22   free trials to consumers, and then converting the free trials into paying customers.
23   Naturally, as Oculu’s website traffic declined, so too did its free trials and paying
24   customers. Oculus seeks to debunk Oculu’s decline in revenues by criticizing Mr. Drews
25   for relying in his report on estimates and on Mr. Drews’ communications with Mr. Cecil.
26   Oculus also points once again to conflicting evidence. The Court should allow the trier of
27   fact to consider all of the evidence and give it the weight it deems appropriate.
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 1   IV.   OCULUS’ MOTION IN LIMINE SHOULD BE DENIED AS TO MR. DREWS’
 2         TESTIMONY ON THE SLEEKCRAFT FACTORS.
 3         Finally, Oculus seeks to exclude Mr. Drews from providing testimony about the
 4   Sleekcraft likelihood of confusion factors. This part of Oculus’ motion is overbroad and
 5   vague and probably could have been avoided if Oculus had not elected to pass on taking
 6   Mr. Drews’ deposition. As stated in his report, Mr. Drews “assumed” liability for purposes
 7   of his damages analysis. He nonetheless should be free to discuss the evidence of
 8   trademark infringement in this case to support his opinion that Oculus’ unjust enrichment
 9   and Oculu’s lost profits are attributable to such infringement. The motion in limine should
10   be denied on Mr. Drews’ testimony about the Sleekcraft factors.
11   V.    CONCLUSION
12         For all of the foregoing reasons, Oculus’ motion in limine should be denied.
13
14                                                Respectfully Submitted,
15   Dated: April 27, 2015                        THE TAILLIEU LAW FIRM LLP
                                                  DORDI WILLIAMS COHEN, LLP
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17
18                                                 By: /S/ Marc S. Williams
                                                       Marc S. Williams
19                                                     Attorneys for Plaintiff/Counter-
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